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*pro hac vice application filed
contemporaneously herewith

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

TIKTOK INC.,

Plaintiff,
CV-23-61-DLC
V.
MOTION FOR PRO HAC VICE
ADMISSION OF MEGAN A.
CROWLEY

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the
State of Montana,

Defendant.

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Pursuant to Local Rule 83.1(d) of the United States District Court for the
District of Montana, Rob Cameron respectfully moves the Court for the admission
pro hac vice of attorney Megan A. Crowley, Covington & Burling LLP, 850 Tenth
Street NW, Washington, DC 20001, for the purposes of this action.

The Declaration attached to this motion sets forth the merits of the motion
pursuant to Local Rule 83.1(d)(4). Ms. Crowley is an active member in good
standing of the courts set forth in her Declaration, is of good moral character, and
has been retained to appear in this Court on behalf of Plaintiff.

Furthermore, pursuant to Local Rule 83.1(d){3), Ms. Crowley has obtained
the written consent of the undersigned local counsel with whom the Court and
opposing counsel may readily communicate regarding the conduct of the case,
upon whom documents will be served, and who will be responsible to participate
as required under Local Rule 83.1(d)(7).

WHEREFORE, Plaintiff respectfully requests that the Court grant its Motion
for Pro Hac Vice Admission of Megan A. Crowley and allow Ms. Crowley to
participate as counsel for Plaintiff in this matter. A Proposed Order is attached.
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Case 9:23-cv-00061-DLC Document4 Filed 05/23/23 Page 3 of 4

DATED: May 23, 2023

Vb Ce

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CONSENT

Pursuant to Local Rule 83.1(d)(3), Rob Cameron of Jackson, Murdo & Grant
P.C., 203 North Ewing, Helena, Montana 59601, 406-389-8244, certifies that he is
a member in good standing of the State Bar of Montana, and hereby consents to
being associated as attorney of record in the above-referenced case, and with
whom the Court and opposing counsel may readily communicate regarding the
conduct of the case, upon whom papers shall be served, and who will be
responsible to participate as required under Local Rule 83.1(d)(7).

DATED: May 23, 2023

AN Cees

Rob Cameron

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